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              Carolyn D. Phillips #103045
        1
              Attorney at Law
              P.O. Box 5622
        2     Fresno, California 93755-5622
              559/248-9833
        3
                      Attorney for Petitioner Isidro Torres
        4

        5
                      IN THE UNITED STATES DISTRICT COURT IN AND FOR THE EASTERN
        6                                   DISTRICT OF CALIFORNIA

        7

        8
              ISIDRO TORRES,                            )      Case No. 1:05-cv-878 OWW
                                                        )      [Case No. 1:03-cr-5165 OWW]
        9
                            Petitioner,                 )
                                                        )      ORDER GRANTING DISMISSAL
        10    vs.                                       )      OF ACTION
                                                        )
        11    UNITED STATES OF AMERICA,                 )
                                                        )
        12                  Respondent.                 )

        13
                     The Court having reviewed and considered petitioner Isidro
        14
              Torres’ stipulation to voluntary dismissal of his pending Motion
        15    To Vacate, Set Aside Or Correct Sentence By A Person In Federal

        16    Custody [28 U.S.C. §2255], hereby GRANTS the voluntary dismissal

        17    pursuant to Federal Rules of Civil Procedure 41(a)(1)(A).

        18

        19

        20
                     IT IS HEREBY ORDERED that Case No. 1:05-cv-878 be dismissed
        21

        22
              Order Granting Dismissal of Action, Torres v. U.S.A., Case No. 1:05-cv-878 OWW
        23


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                  Case 1:03-cr-05165-LJO Document 550 Filed 03/12/09 Page 2 of 2


              without prejudice.
        1
              Dated:        3/10/2009
        2
                                                               /s/ OLIVER W WANGER
        3
                                                                 Honorable Oliver W.
                                                                 Wanger
        4                                                        U. S. District Court

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              Order Granting Dismissal of Action, Torres v. U.S.A., Case No. 1:05-cv-878 OWW
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